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UN|TED STATES DlSTRlCT COURT

DlSTRlCT OF NEVADA
PETER M. BERGNA, Case No. 3:17-cv-00412-N|MD-CBC
P|aintiff, ORDER
v.
MARSHA JOHNS, et al..
Defendants.

 

 

 

This action is a pro se civil rights complaint filed pursuant to 42 U.S.C. § 1983 by
a state prisoner. P|aintiff has submitted an application to proceed in forma pauperis.
(ECF No. 1). Based on the financial information provided, the Court finds that P|aintiff is
unable to prepay the full filing fee in this matter.

On May 22, 2018, the Court imposed a 90-day stay and the Court entered a
subsequent order in which the parties were assigned to mediation by a court-appointed
mediator. (ECF No. 4, 7). On August 3, 2018, the Court extended the stay until
September 28, 2018, (ECF No. 8). The Of'fice of the Attorney General has filed a status
report indicating that settlement has not been reached and informing the Court of its intent
to proceed with this action. (ECF No. 11).

For the foregoing reasons, lT lS ORDERED that:

1. P|aintiff's application to proceed in forma pauperis (ECF No. 1) is
GRANTED. P|aintiff shall not be required to pay an initial installment of the filing fee. ln
the event that this action is dismissed, the full filing fee must still be paid pursuant to 28

U.S.C. § 1915(b)(2).

 

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2. The movant herein is permitted to maintain this action to conclusion without
the necessity of prepayment of any additional fees or costs or the giving of security
therefor. This order granting leave to proceed in forma pauperis shall not extend to the
issuance and/or service of subpoenas at government expense.

3. Pursuant to 28 U.S.C. § 1915(b)(2), the Nevada Department of Corrections
shall pay to the C|erk of the United States District Court, District of Nevada, 20% of the
preceding month’s deposits to P|aintiff's account (Peter Bergna, #74563), in the months
that the account exceeds $10.00, until the full $350.00 filing fee has been paid for this
action. The C|erk of the Court shall SEND a copy of this order to the Finance Division of
the C|erk’s Office. The C|erk of the Court shall also SEND a copy of this order to the
attention of the Chief of lnmate Services for the Nevada Department of Corrections, P.O.
Box 7011, Carson City, NV 89702.

4. The C|erk of the Court shall electronically SERVE a copy of this order and
a copy of P|aintiff's complaint (ECF No. 5) on the Office of the Attorney General of the
State of Nevada by adding the Attorney General of the State of Nevada to the docket
sheet. This does not indicate acceptance of service.

5. Service must be perfected within ninety (90) days from the date of this order
pursuant to Fed. R. Civ. P. 4(m).

6. Subject to the findings of the screening order (ECF No. 4), within tvventy-
one (21) days of the date of entry of this order, the Attorney General’s Office shall file a
notice advising the Court and P|aintiff of: (a) the names of the defendants for whom it
accepts service; (b) the names of the defendants for whom it does not accept service,
and (c) the names of the defendants for whom it is filing the |ast-known-address
information under sea|. As to any of the named defendants for whom the Attorney
General’s Office cannot accept service, the Office shall file, under seal, but shall not serve
the inmate P|aintiff the last known address(es) of those defendant(s) for whom it has such
information. lf the last known address of the defendant(s) is a post ofhce box, the Attorney

General’s Office shall attempt to obtain and provide the last known physical address(es).

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7. |f service cannot be accepted for any of the named defendant(s), P|aintiff
shall file a motion identifying the unserved defendant(s), requesting issuance of a
summons, and specifying a full name and address for the defendant(s). For the
defendant(s) as to which the Attorney General has not provided last-known-address
information, P|aintiff shall provide the full name and address for the defendant(s).

8. lf the Attorney General accepts service of process for any named
defendant(s), such defendant(s) shall file and serve an answer or other response to the
complaint within sixty (60) days from the date of this order.

9. f Henceforth, P|aintiff shall serve upon defendant(s) or, if an appearance has
been entered by counse|, upon their attorney(s), a copy of every pleading, motion or other
document submitted for consideration by the Court. P|aintiff shall include with the original
document submitted for filing a certificate stating the date that a true and correct copy of
the document was mailed or electronically filed to the defendants or counsel for the
defendants lf counsel has entered a notice of appearance, P|aintiff shall direct service
to the individual attorney named in the notice of appearance, at the physical or electronic
address stated therein. The Court may disregard any document received by a district
judge or magistrate judge which has not been filed with the C|erk, and any document
received by a district judge, magistrate judge, or the C|erk which fails to include a
certificate showing proper service.

10. This case is no longer stayed.

DATED Ti-iis ZBQ’ day or

 
 

 

 

 

